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                                   STATEMENT OF FACTS

        Your affiant, Adam Sucheski, is a Special Agent with the Federal Bureau of Investigation
(FBI), currently assigned to the Philadelphia, Pennsylvania field office. In my duties as a special
agent, I investigate domestic terrorism violations and other threats of violent crime. Currently, I
am a tasked with investigating criminal activity in and around the Capitol grounds on January 6,
2021. As a Special Agent, I am authorized by law or by a Government agency to engage in or
supervise the prevention, detection, investigation, or prosecution of a violation of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

               Evidence Linking GARY EDWARDS to Assault on the U.S. Capitol

        In or around February 2021, the FBI received a tip indicating that Gary Edwards
(“EDWARDS”) of Southampton, Pennsylvania entered the Capitol building on January 6, 2021.
The tip included screenshots of posts from the Facebook page of “Lynn Feiler Edwards.” The
posts stated that her husband, EDWARDS, had been inside the Capitol building. Specifically, one
post stated:

               Okay ladies let me tell you what happened as my husband was there
               inside the Capitol Rotunda. There was a small group of young men
               dressed in military garb who yelled “we r going in!” They broke the
               barricade down, ran up the steps, broke a window and climbed in.
               They broke some furniture. Then proceeded to storm the floors.
               The crowd followed to stand on the balconies. When this happened
               there were police milling around doing nothing even after the breech
               [sic]. Gary walked around the back of the building and climbed the
               stairs walking right into the rotunda. He stood there and heard and
               saw teargas blasts. The police were right next to him as Gary poured
               water on their eyes. He stayed to chat w the police who were calm.
               Prior to Gary getting in evidently one woman was shot. . . .

       In another post on Lynn Feiler Edwards’ Facebook page, she stated, in part:

               Gary walked around carrying flags of the Us. Gary walked right
               through the door into the rotunda. Chatting with the police who
               were very calm. The people san[g] the Star spangled banner 2 time
               then started chanting whose house? Our house! When asked to
               leave they did. . . . These were people who watched their rights
               being taken away, their votes stolen from them, their state officials
               violating the constitutions of their country and people who are not
               being given the opportunity to be able to have evidence shown.

       At some point after January 6, 2021, the above-described posts on Lynn Feiler Edwards’
public Facebook page were deleted or removed from public view.

        Law enforcement obtained from Pennsylvania’s Department of Motor Vehicles driver’s
license information for EDWARDS, including his photo. Your affiant compared EDWARDS’
driver’s license photo with a photo from Lynn Feiler Edwards’ Facebook page and observed
EDWARDS in a photo. The photo is shown below. EDWARDS is circled in red.
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         Additionally, in the course of its investigation, law enforcement obtained photos and videos
of an individual who appears to be EDWARDS both inside and outside of the Capitol building on
January 6, 2021. One such video was livestreamed by another rioter during the riot using DLive,
a video live streaming service. While reviewing the video, law enforcement observed an individual
who appears to be EDWARDS inside an office within the Capitol building. The person taking the
video can be heard saying, “Whose office is this?” As the video moves through the office, several
rioters, including the individual who appears to be EDWARDS can be seen. EDWARDS appears
to be wearing a black jacket and a red, white, and blue wool cap. He also has a cell phone in his
hand. A screenshot of the video is shown below. EDWARDS is circled in red.
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        Additionally, law enforcement obtained a screenshot of a photo posted to Instagram, which
also appears to show EDWARDS, wearing the same black jacket and wool cap as the preceding
photo, talking on his cell phone inside the Capitol building on January 6, 2021. The caption for
the photo reads, “Scenes from inside the #uscapitolbulding.” The photo is shown below.
EDWARDS is circled in red.




        Lastly, law enforcement reviewed and collected video provided by the U.S. Capitol Police,
which included security camera footage inside the U.S. Capitol building. While reviewing this
footage, your affiant observed an individual who appears to be EDWARDS, wearing the same
black jacket and red, white, and blue wool cap that was previously identified in other photos of
EDWARDS from inside the Capitol building. Your affiant observed in the video EDWARDS
moving throughout the entranceway of the Capitol building. The videos show EDWARDS
entering a foyer of the Capitol building from a location further inside. He first attempts to go to
his right, but there is a line of Capitol Police Officers blocking the way. EDWARDS then turns
and walks down the hallway to his left, further into the Capitol building. He later returns to the
same foyer and exits the Capitol building through the door there. The following images are a
sampling of screenshots obtained from that footage. EDWARDS is circled in red.
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       Based on the aforementioned evidence, there is probable cause to believe that GARY
EDWARDS was present inside the U.S. Capitol building during the riot and related offenses that
occurred at the U.S. Capitol building, located at 1 First Street, NW, Washington, D.C. 20510 on
January 6, 2021 and participated in the obstruction of the Congressional proceedings.

         Accordingly, your affiant submits that there is probable cause to believe that EDWARDS
violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain
in any restricted building or grounds without lawful authority to do so; and (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Finally, your affiant submits there is also probable cause to believe that EDWARDS
violated 40 U.S.C. § 5104(e)(2)(C), (D), and (G), which makes it a crime to willfully and
knowingly (C) with the intent to disrupt the orderly conduct of official business, enter or remain
in a room in any of the Capitol Buildings set aside or designated for the use of— (i) either House
of Congress or a Member, committee, officer, or employee of Congress, or either House of
Congress; or (ii) the Library of Congress; (D) utter loud, threatening, or abusive language, or
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
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                                                   Digitally signed by Zia M.

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